     Case: 1:15-cv-08780 Document #: 16 Filed: 02/24/16 Page 1 of 1 PageID #:38

                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Carlos Hernandez
                                          Plaintiff,
v.                                                      Case No.: 1:15−cv−08780
                                                        Honorable Robert W. Gettleman
Erich's Lehigh Auto Body, Inc., et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 24, 2016:


        MINUTE entry before the Honorable Robert W. Gettleman: On joint stipulation,
this matter is dismissed in its entirety with prejudice, with each party incurring its own
attorneys' fees and costs except as otherwise provided in the settlement agreement. Civil
case terminated. Mailed notice (gds)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
